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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                Case No.: 16-20893-CR-MORENO(s)


  UNITED STATES OF AMERICA,

  vs.

  MONTY RAY GROW,

        Defendant.
  _________________________________/

   GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANT MONTY GROW’S
      MOTION FOR NEW TRIAL BASED ON NEWLY DISCOVERED EVIDENCE

         The United States of America, by and through the undersigned Assistant United States

  Attorney, hereby files this response in opposition to Defendant Monty Grow’s Motion for New

  Trial Based on Newly Discovered Evidence [DE-256].

         I.      Introduction

         On February 5, 2018, Defendant was found guilty by a jury of numerous felony offenses

  arising from to a scheme to defraud Tricare of approximately $20 million. Defendant now argues

  that his recent discovery of publicly available records concerning a juror’s misdemeanor marijuana

  possession, which charges were subsequently dismissed, entitles him to a new trial. The

  government opposes such relief for two reasons. First, the juror in question was never formally

  arrested, but instead issued a notice to appear, and therefore could reasonably—and truthfully—

  have believed that he was not arrested, as that term is commonly understood. As such, the juror

  did not deliberately provide false information when the Court asked him if he had ever been

  arrested and he answered “no” during voir dire. Second, even if the juror had been arrested,


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  Defendant cannot meet his burden to show that the juror’s failure to disclose a misdemeanor arrest,

  which charges were subsequently dismissed by the State, would have provided a valid basis to

  strike the juror for cause, as required to prevail on a motion for new trial. Accordingly, the Court

  should deny the motion. Further, given that the motion can be conclusively decided without the

  need to examine the juror, Defendant’s request for an evidentiary hearing should be denied as well.

          II.      Argument

          In McDonough Power Equipment, Inc. v. Greenwood, 464 U.S. 548 (1984), the Supreme

  Court set forth a two-part test for analyzing post-trial claims based on allegations that a juror

  deliberately withheld material information during voir dire. The Court held that “to obtain a new

  trial a party must first demonstrate that a juror failed to answer honestly a material question on

  voir dire, and then further show that a correct response would have provided a valid basis for a

  challenge for cause.” 464 U.S. at 556. The defendant, as moving party, bears the burden of

  establishing both prongs of the test. Id.

          A. The Juror was Issued an NTA

          As to the first prong of the test, the government’s investigation has revealed that the juror

  was not dishonest when he answered “no” to the question of whether he had ever been arrested.

  The Miami-Dade County records attached to Defendant’s motion show that the juror was charged

  with misdemeanor offenses, but they do not indicate whether he was arrested as that term is

  commonly understood. 1 As this Court is likely aware, when minor offenses are involved, such as

  misdemeanor possession of marijuana, local police routinely refrain from taking individuals into

  custody, i.e. arresting them, and instead issue them a “notice to appear.” See Fla. R. Crim. P.


          1       “Arrest” is defined as “the taking or detaining in custody by authority of law.” See https:// www.
  merriam-webster.com/dictionary/arrest.
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  3.125(a) (“notice to appear means a written order issued by a law enforcement officer in lieu of

  physical arrest requiring a person accused of violating the law to appear in a designated court or

  government office at a specified date and time.”) (emphasis added). That is what occurred in the

  juror’s case. See Gov. Exs. 1-2 (police incident reports indicating that the juror was given a

  “promise to appear” or a “PTA”). By contrast, when individuals are arrested, that is, taken into

  custody, officers must “book” them into custody by transporting them to the police station, finger

  printing them, and taking a “mug shot” photo. Once finger prints are taken they are sent to the

  FBI’s National Crime Information Center (NCIC) which acts as a clearinghouse for all arrest and

  conviction records in the United States. In this case, the government has been unable to locate any

  booking photos or finger print records for the juror, nor is there any record with the NCIC. See

  Gov. Ex. 3 (juror’s negative NCIC report). The lack of such records, along with the incident

  reports, confirms that the juror was never taken into custody, and therefore he did not fail to

  honestly answer the Court’s question regarding prior arrests during voir dire. The bottom line is

  that the Defendant has not shown that the juror’s answer was deliberately false.

         B. A Misdemeanor Arrest Is Not a Valid Basis to Challenge a Prospective Juror for
            Cause

         Defendant’s motion ultimately falls short because he cannot satisfy the second prong of

  the McDonough test, namely, he cannot demonstrate that an honest answer (if it is one), that the

  juror had in fact been arrested for marijuana possession, would have resulted in a valid basis to

  challenge the juror for cause. For that reason alone his motion should be denied. See United States

  v. Brugnara, 856 F.3d 1198, 1212 (9th Cir. 2017) (affirming the denial of a new trial motion based

  on a juror’s undisclosed misdemeanor arrests and explaining that defendant “did not succeed on

  the second part of the test because a truthful answer would not have provided a valid basis to

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  challenge [the juror] for cause.”); United States v. Stewart, 433 F.3d 273, 302-06 (2d Cir. 2006)

  (affirming the denial of a new trial motion where a juror’s failure to disclose a civil judgment and

  his son’s conviction for attempted robbery did not provide a valid basis to challenge the juror for

  cause, as would be required to grant a new trial); Jones v. Cooper, 311 F.3d 306, 313 (4th Cir.

  2002) (affirming the denial of a motion for new trial and explaining that “[b]ecause even truthful

  answers to the questions [regarding prior arrests of family members] could not have formed the

  basis for a challenge for cause, appellant is not entitled to relief under the second part of the

  McDonough test.”); United States v. Ross, 263 F.3d 844, 847 (8th Cir. 2001) (affirming the denial

  of a new trial motion and agreeing with the district court that “even if the information that the juror

  withheld from defendant [including undisclosed felony charges and misdemeanor convictions] had

  been available to him, there would have been no basis for a challenge for cause.”). A prior arrest

  for a misdemeanor, which charge was subsequently dismissed by the State, is simply not a valid

  basis to strike a juror for cause. See Brugnara, 856 F.3d at 1212; see also United States v. Feldman,

  2016 WL 8505087 (S.D. Fla., Feb. 18, 2016) (J., Scola) (rejecting a motion for new trial where

  two jurors “were arrested, but not convicted, for misdemeanor crimes and failed to disclose those

  arrests.”). Defendant cites no case in which a new trial was granted, or an evidentiary hearing was

  held, based solely on an undisclosed misdemeanor arrest.

         In an effort to avoid McDonough’s second prong, Defendant argues that the withheld

  misdemeanor arrest “not only prevented defense counsel from formulating potential challenges for

  cause, but also thwarted their ability to meaningfully exercise peremptory challenges.” Mot. at 3

  (citing United States v. Barnes, 604 F.2d 121, 139 (2d Cir. 1979)). Notably, the Supreme Court’s

  McDonough test, formulated five years after Barnes, does not allow for a new trial when a juror’s


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  failure to disclose material information affects a defendant’s ability to make peremptory

  challenges, but only when the failure to disclose would give rise to a challenge for cause. In any

  event, even if an impact on his peremptory challenges were relevant, Defendant’s claimed

  prejudice is belied by the record. The full transcript of voir dire demonstrates that defense was not

  concerned about prior arrests at all. Indeed, rather than strike or even question prospective jurors

  about prior arrests, Defendant accepted two jurors with prior arrests onto the final jury panel. Juror

  5 was arrested for marijuana possession (just like the juror he now claims should have been

  dismissed for cause), and Juror 12 was arrested for petit theft. See DE-229, Tr. Trans. (01/22/18)

  pp. 55-56, 100-01. Defendant never asked any questions of the prospective jurors who disclosed

  prior arrests, making it difficult to see how he can now claim that if only he’d known about the

  juror’s undisclosed misdemeanor arrest he would have somehow formulated a challenge for cause

  or exercised a peremptory challenge. As several courts have observed, and as defense counsel

  certainly must have assumed in this case, any bias on the part of a previously arrested juror would

  likely have been against the government and in favor of the accused. See Ross, 263 F.3d at 847

  (“If anything, it seems to us that the juror’s previous brushes with the law would create a stronger

  opposite inference - one that she might well be biased in favor of defendants in general.”); see also

  Jones, 311 F.3d at 313 (“indeed, arguably, the more common-sense assumption is that a juror with

  this background [involving prior arrests of family members] would be biased in favor of the

  accused.”).

         III.    A Hearing Is Unnecessary to Resolve the Motion

         In light of the foregoing, the government does not believe an evidentiary hearing is

  necessary or advisable. “To justify a post-trial hearing involving the trial’s jurors,” the moving


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  party “must do more than speculate; he must show clear, strong, substantial and incontrovertible

  evidence that a specific, nonspeculative impropriety has occurred.” United States v. Cuthel, 903

  F.2d 1381, 1383 (11th Cir. 1990). “The more speculative or unsubstantiated the allegation of

  misconduct, the less the burden to investigate.” Id. Here, the fact that the juror received NTAs in

  lieu of formal arrest sufficiently undermines Defendant’s allegation of juror misconduct such that

  no further investigation is necessary. Moreover, even if the juror was actually arrested, Defendant

  still cannot establish that the undisclosed misdemeanor arrests would have given rise to a challenge

  for cause. Thus, an evidentiary hearing could not alter the ultimate outcome of the motion and

  therefore should be rejected. See Stewart, 433 F.3d at 306 (affirming the district court’s refusal to

  conduct a hearing “because it found that even if all of the allegations were established by

  competent evidence, none would provide valid grounds to challenge for cause [the juror’s]

  membership on the jury.”).


                                                        Respectfully submitted,

                                                        ARIANA FAJARDO ORSHAN
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on December 17, 2018, I electronically filed the Government=s

  Response in Opposition to Defendant Monty Grow’s Motion for New Trial with the Clerk of the

  Court using CM/ECF.


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